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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                           EASTERN DIVISION

 TANYA EDWARDS and RICARDO                )
 JOHN FITZGERALD EDWARDS,                 )
                                          )
              Plaintiffs,                 )
                                          )
       v.                                 )       CASE NO. 3:18-CV-375-WKW
                                          )
 WAL-MART STORES EAST, LP,                )
                                          )
              Defendant.                  )

                                      ORDER

      Upon consideration of the parties’ Stipulation for Dismissal with Prejudice

(Doc. # 37), which comports with Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil

Procedure, this action has been dismissed with prejudice by operation of Rule 41, on

the terms agreed to and set out by the parties.

      The Clerk of the Court is DIRECTED to close this case.

      DONE this 11th day of March, 2019.

                                                    /s/ W. Keith Watkins
                                              UNITED STATES DISTRICT JUDGE
